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                                                                  United States Bankruptcy Court
                                                                                 District of Maryland
             Arlene P. Balunsat
 In re       Benjamin P. Balunsat                                                                                     Case No.   09-26192
                                                                                               Debtor(s)              Chapter    13



                                                                               CHAPTER 13 PLAN

                                    Original Plan                                        Amended Plan                    Modified Plan

             The Debtor proposes the following Chapter 13 plan and makes the following declarations:

1.           The future earnings of the Debtor are submitted to the supervision and control of the Trustee, and Debtor will pay
             as follows (select only one):

             a.           $             per month for a term of                              months. OR

             b.           $      2,413.88      per month for    4    month(s),
                          $      2,557.00      per month for    56     month(s),
                          $             per month for        month(s), for a total term of                       60   months. OR

             c.           $        per month prior to confirmation of this plan, and $        per month after confirmation of this
                          plan, for a total term of      months (if this option is selected, complete 2.e.i.).

2.           From the payments received, the Trustee will make the disbursements in the order described below:
             a.     Allowed unsecured claims for domestic support obligations and trustee commissions.
             b.     Administrative claims under 11 U.S.C. § 507(a)(2), including attorney's fee balance of $ 2,900.00
                    (unless allowed for a different amount by an order of court). This amount will be paid pursuant to
                    Appendix F.
             c.     Claims payable under 11 U.S.C. § 1326(b)(3). Specify the monthly payment: $ 0.00 .
             d.     Other priority claims defined by 11 U.S.C. § 507(a)(3) - (10). The Debtor anticipates the following
                    claims:
 Claimant                                                                                         Amount of Claim
 -NONE-

             e.           Concurrent with payments on non-administrative priority claims, the Trustee will pay secured creditors
                          as follows:

                          i.           Until the plan is confirmed, adequate protection payments and/or personal property lease
                                       payments on the following claims will be paid directly by the Debtor; and, after confirmation of
                                       the plan, the claims will be treated as specified in 2.e.ii or 2.e.iii, below (designate the amount of
                                       the monthly payment to be made by the Debtor prior to confirmation, and provide the redacted
                                       account number (last 4 digits only), if any, used by the claimant to identify the claim):
 Claimant                                                                          Redacted Acct. No.                                    Monthly Payment
 -NONE-

                          ii.          Pre-petition arrears on the following claims will be paid through equal monthly amounts under
                                       the plan while the Debtor maintains post-petition payments directly (designate the amount of
                                       anticipated arrears, and the amount of monthly payment for arrears to be made under the plan):
 Claimant                                                                     Anticipated Arrears                Monthly Payment                 No. of Mos.
 Mortgage Service Center                                                                        1,788.29                    105.19                             17
 One West Bank                                                                                 25,667.85                  1,509.87                             17
 USAA Federal Savings Bank                                                                         60.00                      3.53                             17

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                          iii.         The following secured claims will be paid in full, as allowed, at the designated interest rates
                                       through equal monthly amounts under the plan:
 Claimant                                                                           Amount          % Rate       Monthly Payment                 No. of Mos.
 Prince George's County Gov't                                                        8,860.52       8.00%                   553.03                             17

                          iv.          The following secured claims will be satisfied through surrender of the collateral securing the
                                       claims (describe the collateral); any allowed claims for deficiencies will be paid pro rata with
                                       general unsecured creditors; upon confirmation of the plan, the automatic stay is lifted, if not
                                       modified earlier, as to the collateral of the listed creditors:
 Claimant                                                                                    Amount of Claim Description of Collateral
 One West Bank                                                                                     316,422.85 Single Family Residence
                                                                                                              11001 Captains View Lane
                                                                                                              Fort Washington, MD 20744

                                                                                                              Debtors purchased the property in July, 1997.
                                                                                                              Debtors purchased the property for
                                                                                                              $150,000.00. Debtors are approximately 8
                                                                                                              months behind on the first mortgage
 USAA Savings Bank                                                                                  50,000.00 Single Family Residence
                                                                                                              11001 Captains View Lane
                                                                                                              Fort Washington, MD 20744

                                                                                                              Debtors purchased the property in July, 1997.
                                                                                                              Debtors purchased the property for
                                                                                                              $150,000.00. Debtors are approximately 8
                                                                                                              months behind on the first mortgage

                          v.           The following secured claims are not affected by this plan and will be paid outside of the plan
                                       directly by the Debtor:
 Claimant
 Navy Federal Credit Union

                          vi.          If any secured claim not described in the previous paragraphs is filed and not disallowed, that
                                       claim shall be paid or otherwise dealt with outside the plan directly by the Debtor, and it will not
                                       be discharged upon completion of the plan.

                          vii.         In the event that the trustee is holding funds in excess of those needed to make the payments
                                       specified in the Plan for any month, the trustee may pay secured claims listed in paragraphs 2.e.ii
                                       and 2.e.iii in amounts larger than those specified in such paragraphs.

             f.           After payment of priority and secured claims, the balance of funds will be paid 100% on allowed general,
                          unsecured claims. (If there is more than one class of unsecured claims, describe each class.)


3.           The amount of each claim to be paid under the plan will be established by the creditor's proof of claim or
             superseding Court order. The Debtor anticipates filing the following motion(s) to value a claim or avoid a lien.
             (Indicate the asserted value of the secured claim for any motion to value collateral.):
 Claimant                                                                            Amount of Claim                                 Description of Property
 -NONE-




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4.           Payments made by the Chapter 13 trustee on account of arrearages on pre-petition secured claims may be applied
             only to the portion of the claim pertaining to pre-petition arrears, so that upon completion of all payments due
             under the Plan, the loan will be deemed current through the date of the filing of this case. For the purposes of the
             imposition of default interest and post-petition charges, the loan shall be deemed current as of the filing of this
             case.

5.           Secured Creditors who are holding claims subject to cramdown will retain their liens until the earlier of the
             payment of the underlying debt determined under nonbankruptcy law, or discharge under § 1328; and if the case
             is dismissed or converted without completion of the plan, the lien shall also be retained by such holders to the
             extent recognized under applicable nonbankruptcy law.

6.           The following executory contracts and/or unexpired leases are assumed (or rejected, so indicate); any unexpired
             lease with respect to personal property that has not previously been assumed during the case, and is not assumed
             in the plan, is deemed rejected and the stay of §§ 362 and/or 1301 is automatically terminated:
 Other Party                                             Description of Contract or Lease                       Assumed or Rejected
 -NONE-

7.           Title to the Debtor's property shall revest in the Debtor when the Debtor is granted a discharge pursuant to 11
             U.S.C. § 1328, or upon dismissal of the case, or upon closing of the case.

8.           Non-Standard Provisions:



 Date November 15, 2009                                                         Signature    /s/ Arlene P. Balunsat
                                                                                             Arlene P. Balunsat
                                                                                             Debtor


 Date November 15, 2009                                                         Signature    /s/ Benjamin P. Balunsat
                                                                                             Benjamin P. Balunsat
                                                                                             Joint Debtor
 Attorney /s/ Charles L. Wardell
                 Charles L. Wardell 28498




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